                 Case 3:18-cv-05945-VC Document 166 Filed 02/18/20 Page 1 of 3

                                       Office of the Clerk
                      United States Court of Appeals for the Ninth Circuit
                                     Post Office Box 193939
                              San Francisco, California 94119-3939
                                          415-355-8000
Molly C. Dwyer
Clerk of Court                          February 18, 2020


       No.:              20-15241
       D.C. No.:         3:18-cv-05945-VC
       Short Title:      Social Technologies LLC v. Apple Inc.


       Dear Appellant/Counsel

       A copy of your notice of appeal/petition has been received in the Clerk's office of
       the United States Court of Appeals for the Ninth Circuit. The U.S. Court of
       Appeals docket number shown above has been assigned to this case. You must
       indicate this Court of Appeals docket number whenever you communicate with
       this court regarding this case.

       Please furnish this docket number immediately to the court reporter if you place an
       order, or have placed an order, for portions of the trial transcripts. The court
       reporter will need this docket number when communicating with this court.

       The due dates for filing the parties' briefs and otherwise perfecting the appeal
       have been set by the enclosed "Time Schedule Order," pursuant to applicable
       FRAP rules. These dates can be extended only by court order. Failure of the
       appellant to comply with the time schedule order will result in automatic
       dismissal of the appeal. 9th Cir. R. 42-1.
        Case 3:18-cv-05945-VC Document 166 Filed 02/18/20 Page 2 of 3




                   UNITED STATES COURT OF APPEALS
                                                                      FILED
                           FOR THE NINTH CIRCUIT
                                                                      FEB 18 2020
                                                                     MOLLY C. DWYER, CLERK
                                                                      U.S. COURT OF APPEALS




 SOCIAL TECHNOLOGIES LLC, a                     No. 20-15241
 Georgia limited liability company,
                                                D.C. No. 3:18-cv-05945-VC
               Plaintiff - Appellant,
                                                U.S. District Court for Northern
   v.                                           California, San Francisco

 APPLE INC., a California corporation,          TIME SCHEDULE ORDER

               Defendant - Appellee.



The parties shall meet the following time schedule.

If there were reported hearings, the parties shall designate and, if necessary, cross-
designate the transcripts pursuant to 9th Cir. R. 10-3.1. If there were no reported
hearings, the transcript deadlines do not apply.

Tue., February 25, 2020        Appellant's Mediation Questionnaire due. If your
                               registration for Appellate CM/ECF is confirmed after
                               this date, the Mediation Questionnaire is due within
                               one day of receiving the email from PACER
                               confirming your registration.
Mon., March 16, 2020           Transcript shall be ordered.
Tue., April 14, 2020           Transcript shall be filed by court reporter.
Tue., May 26, 2020             Appellant's opening brief and excerpts of record
                               shall be served and filed pursuant to FRAP 31 and
                               9th Cir. R. 31-2.1.
        Case 3:18-cv-05945-VC Document 166 Filed 02/18/20 Page 3 of 3

Thu., June 25, 2020         Appellee's answering brief and excerpts of record
                            shall be served and filed pursuant to FRAP 31 and
                            9th Cir. R. 31-2.1.

The optional appellant's reply brief shall be filed and served within 21 days of
service of the appellee's brief, pursuant to FRAP 31 and 9th Cir. R. 31-2.1.

Failure of the appellant to comply with the Time Schedule Order will result in
automatic dismissal of the appeal. See 9th Cir. R. 42-1.

                                            FOR THE COURT:

                                            MOLLY C. DWYER
                                            CLERK OF COURT

                                            By: John Brendan Sigel
                                            Deputy Clerk
                                            Ninth Circuit Rule 27-7
